       Case 2:23-cv-00035-SAB    ECF No. 5   filed 02/09/23   PageID.104 Page 1 of 3




 1                                        THE HONORABLE STANLEY A. BASTIAN
 2

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 8

 9

10                     UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WASHINGTON
11                              AT SPOKANE
12   DDD, Inc. a Washington corporation,      No. 2:23-CV-00035
13
                             Plaintiff,       ATTORNEY VERIFICATION OF
                                              STATE COURT RECORD
14
                      vs.
15
     LUX LENDING, LLC d/b/a BITCOIN
16   DEPOT, a foreign limited liability
     corporation,
17
                             Defendant.
18
19         The undersigned hereby certifies that the documents attached hereto as
20   Exhibit A are true and correct copies of the complete records and proceedings
21   known to Defendant Lux Vending, LLC d/b/a Bitcoin Depot that were filed and/or
22   served at the time of removal in the Superior Court of Washington for Spokane
23   County action captioned DDD, Inc. v. Lux Vending, LLC d/b/a Bitcoin Depot, No.
24   23-2-00176-32.
25
                                                                       CORR CRONIN LLP
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       Case 2:23-cv-00035-SAB   ECF No. 5   filed 02/09/23   PageID.105 Page 2 of 3




 1        Dated: February 9, 2023
 2

 3                                      CORR CRONIN LLP
 4
                                         s/ John T. Bender
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       Case 2:23-cv-00035-SAB     ECF No. 5    filed 02/09/23   PageID.106 Page 3 of 3




 1                             CERTIFICATE OF SERVICE
 2
           The undersigned declares as follows:
 3

 4         1.     I am employed at Corr Cronin LLP, attorneys of record for Defendant

 5   Bitcoin Depot.
 6
           2.     I hereby certify that on February 9, 2023, I caused a true and correct
 7

 8   copy of the foregoing document to be filed with the court with ECF notifications to
 9   the following:
10

11   Michael R. Merritt, WSBA No. 60094           ☐ Legal Messenger
     HAWLEY TROXELL ENNIS &
12   HAWLEY LLP                                   ☒ E-Mail
13
     422 W. Riverside Avenue, Suite 1100          ☒ ECF/E-Service
     Spokane, WA 99201                            ☐ 1st Class Mail
14   mmerritt@hawleytroxell.com
                                                  ☐ Overnight Mail
15   Attorneys for Plaintiff

16

17         I declare under penalty of perjury under the laws of the United States of

18   America that the foregoing is true and correct.

19         Dated: February 9, 2023

20

21                                          s/ Wen Cruz
22                                          Wen Cruz

23

24

25
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